                 Case 20-50548-CTG            Doc 52-5        Filed 12/17/21        Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 7

ART VAN FURNITURE, LLC., et al.,1                          Case No. 20-10553 (CSS)

                                   Debtors.                Jointly Administered

                                                           Adv. Proc. No. 20-50548 (CSS)
TODD STEWART and JENNIFER
SAWLE on behalf of themselves and all
others similarly situated,

                                     Plaintiff,

            v.

ART VAN FURNITURE, LLC, et al.,

                                    Defendants.

                                      CERTIFICATE OF SERVICE


                  I, Bradford J. Sandler, hereby certify that on the 17th day of December, 2021, I

caused a copy of the following document(s) to be served on the individuals on the attached

service list(s) in the manner indicated:

                  REPLY IN FURTHER SUPPORT OF CHAPTER 7 TRUSTEE’S MOTION
                  FOR SUMMARY JUDGMENT

                                            /s/ Bradford J. Sandler
                                            Bradford J. Sandler (DE Bar No. 4142)




1
  The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF
Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art
Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463).


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Art Van Furniture – Todd Stewart/Jennifer Sawle
WARN Act Service List
Main Case No. 20-10553 (CSS)
Adv. Case No. 20-50548 (CSS)
Doc. No. 232773v1
04 – E-Mail

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